                         Case 4:12-cr-00246-DPM Document 565 Filed 09/04/13 Page 1 of 6

A0245B        (Rev. 09111) Judgment in a Criminal Case
              Sheet 1
                                                                                                                        FILED
                                                                                                                      U.S. DISTRICT COURT
                                                                                                                 §ASTERN 9!5TR'P I 91"' ?' il



                                          UNITED STATES DISTRICT COURT
                                                                                                           JAMESW
                                                            Eastern District of Arkansas
                                                                                                           By:_-tTt-'b't++:.~t-,~=
                                                                          )                                                                    LERK
              UNITED STATES OF AMERICA                                    )       JUDGMENT IN A CRIMINAL
                                  v.                                      )
                          Oscar Moreno                                    )
                                                                          )       Case Number: 4:12-cr-246-DPM-21
                                                                          )       USM Number: 27242-009
                                                                          )
                                                                          )       Kathryn L. Hudson
                                                                                  Defendant's Attorney
THE DEFENDANT:
fi(pleaded guilty to count(s)          Fifty one of the Indictment.
                                   ----=-----------------------------~-··-·                                                                           .-
0 pleaded nolo contendere to count(s)
   which was accepted by the court.
0 was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudjcated guilty of these offenses:

Title & Section                   Natyre of Offense                                                         Offense Ended
21 u.s.c. § 843(b)                 Use of a communication facility during a drug crime,
                                   a Class E Felony                                                          9/5/2012                     51



       The defendant is sentenced as provided in pages 2 through          __s__ ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
0 The defendant has been found not guilty on count(s)
lt'count(s)      1 & 50 of the Indictment                D is     £tare dismissed on the motion of the United States.
         It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any chan,ge of name, residence,
or mailing address until all fines, restitution. costs, and special assessments imposed by this judgment are fully paid. If ordered to pav restitution,
the defenaant must notify the court and United States attorney of material ctianges in economtc circumstances.                           •
                                                                           9/3/2013
                                                                         ~----,;:-:-----,....,--~-,.....--------~-----·-----
                                                                          Date of Imposition of Judgment



                                                                          Sign~P:·
                                                                           D.P. Marshall Jr.                            U.S. District J_ud__,g,_e~-
                                                                          Name and Title of Judge



                                                                          Date
                            Case 4:12-cr-00246-DPM Document 565 Filed 09/04/13 Page 2 of 6

AO 2458       (Rev. 09/11) Judgment in Criminal Case
              Sheet 2 - Imprisonment

                                                                                                 Judgment- Page ~-2- of   6
DEFENDANT: Oscar Moreno
CASE NUMBER: 4:12·cr-246-DPM·21


                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 Time served (11 months, 22 days)




    0 The court makes the following recommendations to the Bureau of Prisons:




   if The defendant is remanded to the custody of the United States MarshaL
   0 The defendant shall surrender to the United States Marshal for this district:
          0 at
                      ----------------- D a.m.               0 p.m.      on
          0     as notified by the United States Marshal.

   0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0 before 2 p.m. on
          0     as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                     to

a---------------, with a certified copy ofthisjudgment.

                                                                                             UNITED STATES MARSHAL


                                                                        By
                                                                                          DEPUTY UNITED STATES MARSHAL
                              Case 4:12-cr-00246-DPM Document 565 Filed 09/04/13 Page 3 of 6

AO 245B       (Rev. 09/ l I) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                          Judgment-Page _,.;::;_3_ of         6
DEFENDANT: Oscar Moreno
CASE NUMBER: 4:12-cr-246-DPM-21
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a tenn of:
 1 year.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully pqssess a controlled substance. The defendant shall refrain from an;r. unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ano at least two periodic drug tests
thereafter, as determined by the court.
0        The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
         future substance abuse. (Check. ifapplicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)

         The defendant shall comply whh the re<l!lirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
0        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

0        The defendant shall participate in an approved program for domestic violence. (Check. ifapplicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
    1}    the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3}    the defendant shaH answer truthfully an inquiries by the probation officer and follow the instructions of the probation officer~
    4)    the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  ll)     the defendant shall notifY the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)      the d~fe_ndant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
          penn1ss1on of the court; and

  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ,eersonal history or characteristics and shall permit the probation officer to make such notifications and to confinn the
          defendant s compliance with such notification requirement.
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AO 24SB   (Rev, 09/11) Judgment in a Criminal Case
          Sheet 3C- Supervised Release
                                                                                           Judgment-Page    4     of        6
DEFENDANT: Oscar Moreno
CASE NUMBER: 4:12-cr-246-DPM-21

                                        SPECIAL CONDITIONS OF SUPERVISION
 S1)1f Moreno is deported from the United States, he shall not re-enter the country illegally and shall obtain permission
 before any re-entry.
                          Case 4:12-cr-00246-DPM Document 565 Filed 09/04/13 Page 5 of 6
AO 2458    {Rev. 09111) Judgment in a Criminal Case
           Sheet 5 -Criminal Monetary Penalties
                                                                                                          Judgment- Page        5
DEFENDANT: Oscar Moreno
CASE NUMBER: 4:12·cr-246·DPM-21
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assssment                                                                                  Restitution
TOTALS             $ 100.00                                               $                                   $


 0 The detennination of restitution is deferred until            --~
                                                                              . An Amended Judgment in a Criminal Case (AO 24JC) will be entered
     after such detennination.

 0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     lfthe defendant makes a partial payment, each payee shall receive an approximatelY. proportioned payment, unless specified otherwise in
     the prioritx order or percentage payment column below. However, pursuant to I 8 U.S.C. § 3664(i), all non federal victims must be paid
     before the United States is pard.

Name gf Payee                                                                   Total Loss*       Restitytiog Ordered Priority or Percentage




TOTALS                               $         QOO                                                     0.00
                                         --------
0     Restitution amount ordered pursuant to plea agreement $

0     The defendant must pay interest on restitution and a tine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g}.

0     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      0 the interest requirement is waived for the               0 tine        0 restitution.
      0 the interest requirement for the              0   fine    0 restitution is modified as follows:


* Findings for the total amount oflosses are required under Chapters 109A, II 0, ll OA, and ll3A ofTitle 18 for offenses committed on or after
Septemoer 13, 1994, but before ApriJ 23, 1996.                                                                                               ·
                          Case 4:12-cr-00246-DPM Document 565 Filed 09/04/13 Page 6 of 6
AU 2458    (Rev. 09/11} Judgment in a Criminal Case
           Sheet 6- Schedule of Payments
                                                                                                             Judgment- Page _ _,6:.....__ of          6
DEFENDANT: Oscar Moreno
CASE NUMBER: 4:12·cr-246-0PM-21

                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A     ~ Lump sum payment of$ _10_0_._0_0____ due immediately, balance due

           0     not later than - - - - - - - -                    , or
           0     in accordance     0 C, 0 D, 0                       E, or     0 F below; or
B     0    Payment to.begin immediately (may be combined with                0 C,       0 D, or      0 F below); or
C     0    Payment in equal                          (e.g.• weekly. monthly, quarter(v) installments of $                   over a period of
                           (e.g., months or years), to commence        _____ (e.g.. 30 or 60 days) after the date of this judgment; or
D     0    Payment in equal                          (e.g.. weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g.. months or years), to commence                        (e.g.. 30 or 60 days) after release from imprisonment to a
           term of supervision; or
 E    0    Payment during the term of supervised release will commence within                 (e.g.. 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F     0    Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cr1minal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 0    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defondant number}, Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 0    The defendant shall pay the cost of prosecution.

 0    The defendant shall pay the following court cost(s):

 0    The defendant shaH forfeit the defendant's interest in the following property to the United States:




 Payments shaH be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5} fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
